08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 1 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 2 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 3 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 4 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 5 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 6 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 7 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 8 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                  B Pg 9 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 10 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 11 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 12 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 13 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 14 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 15 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 16 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 17 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 18 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 19 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 20 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 21 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 22 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 23 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 24 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 25 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 26 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 27 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 28 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 29 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 30 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 31 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 32 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 33 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 34 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 35 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 36 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 37 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 38 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 39 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 40 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 41 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 42 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 43 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 44 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 45 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 46 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 47 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 48 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 49 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 50 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 51 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 52 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 53 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 54 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 55 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 56 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 57 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 58 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 59 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 60 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 61 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 62 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 63 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 64 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 65 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 66 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 67 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 68 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 69 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 70 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 71 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 72 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 73 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 74 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 75 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 76 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 77 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 78 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 79 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 80 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 81 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 82 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 83 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 84 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 85 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 86 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 87 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 88 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 89 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 90 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 91 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 92 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 93 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 94 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 95 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 96 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 97 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 98 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 99 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 100 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 101 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 102 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 103 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 104 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 105 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 106 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 107 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 108 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 109 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 110 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 111 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 112 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 113 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 114 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 115 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 116 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 117 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 118 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 119 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 120 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 121 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 122 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 123 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 124 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 125 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 126 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 127 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 128 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 129 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 130 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 131 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 132 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 133 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 134 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 135 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 136 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 137 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 138 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 139 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 140 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 141 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 142 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 143 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 144 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 145 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 146 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 147 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 148 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 149 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 150 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 151 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 152 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 153 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 154 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 155 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 156 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 157 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 158 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 159 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 160 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 161 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 162 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 163 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 164 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 165 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 166 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 167 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 168 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 169 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 170 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 171 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 172 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 173 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 174 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 175 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 176 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 177 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 178 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 179 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 180 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 181 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 182 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 183 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 184 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 185 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 186 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 187 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 188 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 189 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 190 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 191 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 192 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 193 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 194 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 195 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 196 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 197 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 198 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 199 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 200 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 201 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 202 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 203 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 204 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 205 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 206 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 207 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 208 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 209 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 210 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 211 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 212 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 213 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 214 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 215 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 216 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 217 of 218
08-13555-mg   Doc 52603-2   Filed 04/27/16 Entered 04/27/16 17:17:34   Attachment
                                 B Pg 218 of 218
